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19
                                  UNITED STATES DISTRICT COURT
20
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
      PATRICK CALHOUN, et al., on behalf of            Case No. 4:20-cv-05146-YGR-SVK
22    themselves and all others similarly situated,
                                                       DECLARATION OF TRACY GAO IN
23           Plaintiffs,                               SUPPORT   OF   GOOGLE    LLC’S
                                                       ADMINISTRATIVE MOTION TO SEAL
24                                                     PORTIONS OF THE AUGUST 11, 2022
             v.                                        HEARING     TRANSCRIPT      RE
25                                                     SANCTIONS
      GOOGLE LLC,
26                                                     Judge: Hon. Susan van Keulen, USMJ
             Defendant.
27

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                                                                     Case No. 4:20-cv-05146-YGR-SVK
                                             GAO DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1          I, Tracy Gao, declare as follows:
 2          1.      I am a member of the bar of the State of California and an attorney at Quinn Emanuel
 3 Urquhart & Sullivan, LLP, attorneys for Defendant Google LLC (“Google”) in this action. I make

 4 this declaration of my own personal, firsthand knowledge, and if called and sworn as a witness, I

 5 could and would testify competently thereto.

 6          2.      Pursuant to Civil Local Rule 79-5, I submit this declaration in support of Google
 7 LLC’s Administrative Motion to Seal portions of the August 11, 2022 Hearing Transcript re:

 8 Sanctions (“Transcript”). In making this request, Google has carefully considered the relevant legal

 9 standard and policy considerations outlined in Civil Local Rule 79-5. Google makes this request
10 with the good faith belief that the information sought to be sealed consists of Google’s confidential

11 and proprietary information and that public disclosure could cause competitive harm.

12          3.      The information requested to be sealed contains Google’s confidential and
13 proprietary information regarding highly sensitive features of Google’s internal systems and

14 operations, including details related to Google’s internal projects and data logging systems, and their

15 proprietary functionalities, as well as internal metrics, that Google maintains as confidential in the

16 ordinary course of its business and is not generally known to the public or Google’s competitors.

17          4.      Such confidential and proprietary information reveals Google’s internal strategies,
18 system designs, and business practices for operating and maintaining many of its important services,

19 and falls within the protected scope of the Protective Order entered in this action. See Dkt. 61 at 2-

20 3.

21          5.      Public disclosure of such confidential and proprietary information could affect
22 Google’s competitive standing as competitors may alter their data logging system designs and

23 practices relating to competing products. It may also place Google at an increased risk of cyber

24 security threats, as third parties may seek to use the information to compromise Google’s data

25 logging infrastructure.

26          6.      For these reasons, Google respectfully requests that the Court order the Transcript to
27 be filed under seal.

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                                             GAO DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1         I declare under penalty of perjury of the laws of the United States that the foregoing is true

 2 and correct. Executed in the District of Columbia on August 31, 2022.

 3

 4 DATED: August 31, 2022                      QUINN EMANUEL URQUHART &
                                               SULLIVAN, LLP
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 7                                               By          /s/ Tracy Gao
                                                      Xi (“Tracy”) Gao
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                                                      Attorney for Defendant
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                                            GAO DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
